      4:17-cv-11094-LVP-RSW        Doc # 18       Filed 11/14/17   Pg 1 of 2   Pg ID 46



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
ROBERT NAIMAN,
              Plaintiff,                            Case No. 17-11094
v.                                                  Hon. Linda V. Parker
GC SERVICES LIMITED
PARTNERSHIP,
              Defendant.
                                              /

David M. Marco (Atty No. 6273315)                  MILLER, CANFIELD, PADDOCK
SMITHMARCO, P.C.                                      and STONE, P.L.C.
Attorney for Plaintiff                             Scott R. Eldridge (P66452)
55 W. Monroe Street                                Lara L. Kapalla-Bondi (P67667)
Suite 1200                                         Attorneys for Defendant
Chicago, IL 60603                                     GC Services Limited Partnership
(312) 324-3532                                     One Michigan Avenue, Suite 900
lsmith@smithmarco.com                              Lansing, Michigan 48933
                                                   (517) 487-2070
                                                                                                /


   STIPULATED ORDER DISMISSING WITH PREJUDICE PLAINTIFF’S
COMPLAINT AGAINST DEFENDANT GC SERVICES, LIMITED PARTNERSHIP,
            WITHOUT FEES OR COSTS TO ANY PARTY

       This matter having come before the Court on the stipulation of the parties to entry of

this Order;

       IT IS HEREBY ORDERED that Plaintiff’s Complaint is dismissed with prejudice

and without costs to any party.

       This Order resolves all pending claims and closes the case.

       IT IS SO ORDERED.

                                                    s/ Linda V. Parker
                                                    LINDA V. PARKER
                                                    U.S. DISTRICT JUDGE
Dated: November 14, 2017
     4:17-cv-11094-LVP-RSW     Doc # 18   Filed 11/14/17   Pg 2 of 2   Pg ID 47




APPROVED AS TO FORM:

/s/ David M. Marco                   /s/ Lara Kapalla-Bondi
David M. Marco (Atty No. 6273315)            Lara Kapalla-Bondi (P67667)
SMITHMARCO, P.C.                             MILLER, CANFIELD, PADDOCK
Attorney for Plaintiff               & STONE PLC
55 W. Monroe Street                  Attorneys for Defendant
Suite 1200                                   One Michigan Ave., Suite 900
Chicago, IL 60603                            Lansing, MI 48933
(312) 546-6539                               (517) 487-2070
dmarco@smithmarco.com                kapalla-bondi@millercanfield.com

Dated: November 14, 2017




                                          -2-
